AO 9] (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT
for the APR 22 2013

Western District of North Carolina

 

US District Court

United States of America estern District of NC

v.
(1} Kenneth Herman Bennett
(2) Tammy Wynette Woody
(3) Jeffrey Dale Watson
(4) Jeremy Keith Nunnenkamp

Case No. 3:13-mj- 13 a

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Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief,

 

 

On or about the date(s) of 2012 to the present in the county of Ashe and others in the
Western District of North Carolina , the defendant(s) violated:
Code Section. Offense Description
21 U.S.C. 841, 846 Conspiracy to distribute and to possess with intent to distribute at least five

hundred (500) grams of a mixture and substance containing a detectable
amount of methamphetamine, a Schedule I! controlled substance

This criminal complaint is based on these facts:

if Continued on the attached sheet.

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Swk FS Ry
OS

Joseph B. Barringer, Special Agent
Prinied name and title

Sworn to before me and signed in my presence.

Date: 04/22/2013

 

 

City and state: Charlotte, North Carolina U.S. Magistrate Judge David ¢. Keesler
Printed name and title

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ATTACHMENT A:
Affidavit in Support of Criminal Complaint and Arrest Warrant for Kenneth Herman
BENNETT, Tammy Wynette WOODY, Jeremy Keith NUNNENKAMP, and Jeffrey Dale ©
WATSON
I, Joseph B. Barringer, Special Agent with the United States Department of Homeland
Security, Homeland Security Investigations (HSI), being duly sworn and deposed, state as
follows:
BACKGROUNDANTRODUCTION
1. Your Affiant is an investigator or law enforcement officer of the United States within
the meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the United
States who is empowered to conduct investigations of, and to make arrests for, the offenses
enumerated in Title 8, 18, 19, 21, 31 United States Code and other related offenses. I was
previously employed as a criminal investigator with the North Carolina Department of Crime
Control and Public Safety, Alcohol Law Enforcement Division, for three years. I have been
employed as a Special Agent with Homeland Security Investigations (HSI) and its predecessor
agency, Immigration and Customs Enforcement, since December 14, 2003, during which time I
have completed the Criminal Investigator Training Program and the Immigration and Customs
Enforcement, Special Agent Training programs at the Federal Law Enforcement Training
Center, |
2. I am currently assigned to a Narcotics and Bulk Cash Smuggling Group in the
Charlotte, North Carolina HSI office and have conducted investigations focusing on international
narcotics trafficking involving the unlawful importation, transportation, and distribution of
controlled substances and related money laundering activities. Through investigations and

training, I have become familiar with the methods and schemes employed by narcotics dealers to

obtain, smuggle and distribute illegal narcotics. I have also become familiar with and utilized a

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wide variety of investigative techniques, including the use of pen registers, trap and trace
devices, and wire communications intercepts. I am currently one of the assigned case agents of
the investigation referred to in this Affidavit, which is comprised of representatives from HSI
and various other state, county, and city police agencies.

3. Asa result of my personal participation in the investigation of matters referred to in
this Affidavit, and based upon reports made to me by other law enforcement officials, I am
familiar with the facts and circumstances of this investigation. The information contained in this
Affidavit is provided for the limited purpose of establishing probable cause in support of a
criminal complaint and arrest warrant for Defendants Kenneth Herman BENNETT, Tammy
Wynette WOODY, Jeremy Keith NUNNENKAMP and Jeffrey Dale WATSON; therefore, I
have not included each and every fact known to me concerning this investigation.

SYNOPSIS OF INVESTIGATION
4. During the investigation of methamphetamine trafficking in Ashe, Caldwell, Wilkes,
and Alleghany Counties, within the Western District of North Carolina, and elsewhere, the law

enforcement team identified the Defendant Kenneth Herman BENNETT as a large-scale

 

distributor of methamphetamine who resided in Wilkes County... Jeremy -kKeviwn
NUNNENKAMP, Tammy Wynette WOODY and Jeffrey Dale WATSON have been identified
as subordinate distributors operating under BENNETT’s direction and selling methamphetamine.

5. On February 7, 2013, the investigative team conducted a search at WOODY’s
residence located at 3573 Blue Creek Road, Lenoir, North Carolina, within the Western District
of North Carolina, with her consent. WOODY informed investigators that she was accompanied

by BENNETT, whom she identified as her boyfriend. As a result of that search, the investigative

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team. seized approximately 48 grams of crystal methamphetamine from BENNETT and

WOODY.

6. On March 5, 2013, the investigative team interviewed a confidential informant (“CI
#1”) — who made statements against his/her own penal interest, and whose information has been
corroborated by the law enforcement team, so we deem him/her credible and reliable —
regarding his/her involvement in the distribution of crystal methamphetamine in the Western
District of North Carolina. CI #1 stated s/he has been receiving between six and ten ounces
(168 to 280 grams) of methamphetamine per occasion, twice a week from BENNETT, for
$1,700 per ounce. CI #1 stated that NUNNENKAMP was living with BENNETT and,
approximately three weeks prior to the date of the interview, CI #1 went to pick up
methamphetamine from BENNETT and CI #1 received no less than six ounces (168 grams) of
methamphetamine from NUNNENK AMP.

7. On April 10, 2013, the law investigative team stopped NUNNENKAMP while he was
travelling with Jeffrey Dale WATSON, and found NUNNENKAMP in possession of
approximately 22 grams of methamphetamine. They transported NUNNENKAMP to the Ashe
County Sheriff's Office for questioning, and released WATSON and informed him that, if he
desired to speak with investigators, he should come to the Ashe County Sheriffs Office later that
afternoon.

8. After arriving at the Ashe County Sheriff's Office, Your Affiant and Lieutenant Grady
Price of the Ashe County Sheriff's Office advised NUNNENKAMP of his Miranda rights on an
Ashe County rights waiver form, and NUNNUNKAMP indicated he understood.
NUNNENKAMP did not sign the rights waiver form, but began providing information without

invoking his rights. NUNNENKAMP admitted to being involved in the distribution of multiple

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pounds of methamphetamine at BENNETT’s direction, and helping BENNETT count and
“package more than $120,000 in United States currency to pay for additional shipments of
methamphetamine from BENNETT’s sources of supply in Texas. NUNNENKAMP stated that
BENNETT paid $20,000 per pound of methamphetamine, and that BENNETT had received
approximately eight pounds (almost 4 kilograms) of methamphetamine while NUNNENKAMP
has been involved with BENNETT. NUNNENKAMP stated that he had sold WATSON two |
ounces (56 grams) of methamphetamine, two to three times per week, then one additional
amount of two and one-half ounces (70 grams) for a total weight of approximately 14 to 16
ounces of methamphetamine.

9. Later on April 10, 2013, WATSON came to the Ashe County Sheriff's Office to speak
with investigators, who, including Your Affiant and Special Agent Gene Parsons of the North
Carolina State Bureau of Investigation, interviewed him in a non-custodial setting. WATSON
agreed to cooperate with the investigative team and stated that about a year ago, during the
summer of 2012, WATSON began obtaining methamphetamine from BENNETT. WATSON
recalled obtaining one to two orams, once per week, for about three months, Then he began
purchasing 8-balls (3.5 grams) every month or two for several months. Then WATSON
obtained four 8-balls (14 grams) at one time from BENNETT on two or three occasions, Just
before Christmas 2012, WATSON purchased one ounce of methamphetamine from BENNETT
for $2,000. WATSON stated that some of the methamphetamine he purchased from BENNETT
was ingested by him and he sold the rest.

10. WATSON stated that he met NUNNENKAMP through BENNETT a few weeks ago,
when BENNETT called WATSON and asked him to go to BENNETT’s house and pick up

NUNNENKAMP in case the police went to BENNETT’s house. WATSON said that

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BENNETT was with WOODY, who had been arrested in Caldwell County with
methamphetamine and possibly marijuana. WATSON stated since that time, he had gotten a
total of six to seven ounces (168 to 196 grams) of methamphetamine from NUNNENKAMP.

Li. On April 17, 2013, the investigative team interviewed a second confidential informant
(“CI #2”) — who made statements against his/her own penal interest, and whose information has
been corroborated by the law enforcement team, so we deem him/her credible and reliable —
regarding his/her involvement in the distribution of crystal methamphetamine in the Western
District of North Carolina. Around 2010, CI #2 began purchasing 8-balls (3.5 grams) of
methamphetamine from BENNETT. CI #2 then moved up to quarter-ounces (9 grams) before
ultimately purchasing ounce-quantities (28 grams) of methamphetamine, once a week for a
period of about six months,

12. On April 19, 2013, the investigative team conducted a consent search of BENNETT’s
residence in Wilkes County and seized approximately 326 grams of a crystalline substance that
field tested positive for methamphetamine, a set of scales, and various baggies and related
packaging material from the attic of BENNETT’s residence that is consistent with
methamphetamine trafficking.

CONCLUSION
Based upon training, experience, and the facts of this investigation, I submit that there is
probable cause for a criminal complaint against, and arrest warrants for, Defendants Kenneth
Herman BENNETT, Tammy Wynette WOODY, Jeremy Keith NUNNENKAMP and
Jeffrey Dale WATSON, for conspiracy to distribute and to possess with intent to distribute at

least five hundred (500) grams of a mixture and substance containing a detectable amount of

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methamphetamine, in violation of Title 21, United States Code, Sections 846 and 841(b)(1)(A);

therefore, I request that the Court issue the same.

     

fPH B. BARRINGER
HOMELAND SECURITY INVESTIGATIONS

   

AUSA Steven R. Kaufinan has reviewed this Affidavit.

Subscribed and sworn to by me this 22™ day of April 2013,

  
  

THE HOMORARLEMA VID C. KEESLER
UNITED STATES MAGISTRATE JUDGE

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